    Case: 1:21-cv-00131-SO Doc #: 5 Filed: 06/23/21 1 of 1. PageID #: 22




               IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF OHIO

JANIS SHUMWAY,                       :
                                     : Case No.: 1:21-cv-131
          Plaintiff,                 :
v.                                   :
                                     :
SAI KRUPA INC,                       :
                                     :
          Defendant.                 :
____________________________________ :

       NOTICE OF DISMISSAL WITH PREJUDICE [FRCP 41(A)]

     Plaintiff, by and through undersigned counsel, hereby notifies this Court
 pursuant to FRCP 41(a)(1)(A)(i) that this action is dismissed with prejudice as
 to all claims, causes of action, and parties, with each party bearing that party’s
 own attorney’s fees and costs.
 Dated: June 23, 2021

 /s/ Tristan W. Gillespie, Esq.                    IT IS SO ORDERED.
 Tristan W. Gillespie, Esq.                        /s/ Solomon Oliver, Jr.
                                                   United States District Judge
 THOMAS B. BACON, P.A.                             6/23/2021
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 Johns Creek, GA 30022
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 ATTORNEYS FOR PLAINTIFF




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